Case 2:04-cr-20274-.]PI\/| Document 52 Filed 08/04/05 Page 1 of 3 Page|D 69

IN THE UNITED sTATES DISTRICT COURT f._.,, w JW
FOR THE WESTERN DISTRICT 0F TENNESSEE ‘ *-~ f n rtc

 

  

 

WESTERN DIVISION 0
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UNITED STATES 0F AMERICA ) "" ` ;;é§ dm :F§jlllCOUHT
Plaintlff, )
)
vs ) CASE NO. 2:04CR20274-M1
)
IUAN MACKLIN )
)
Defendant. )
)
0RDER To sURRENDER

 

The defendant, Juan Macklin, having been sentenced in the above case to the custody of the
Bureau ofPrisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on MONDAY, AUGUST 29,
2005.

I'I` IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oftice of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the § § day of August, 2005.

€.m‘(tQQ

J PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

Thls document entered on the dockets est a'n compliance /
with sure ::.-_“: ams/or e2(s; rach on __ g ""f 'O;'] '\=5)

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20274 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
P.O. Box 776407

Steamboat Springs7 CO 80477

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

